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             EXHIBIT C
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   Café Tío Simón: What does Simón Díaz have to
   do with coffee?
   "My father woke up every day at 4:35 a.m. and the first thing he did was go to the kitchen to
   brew his coffee in an old ramshackle pot. He boiled the water with sugar and then strained it
   through a pastry bag," says Bettsimar Díaz when presenting this new coffee, in alliance with the
   Cafeteros 1730 group




                          Giuliana Chiappe
   June 12, 20230 6:17 pm
   Last updated: June 12, 2023 06:25 pm


   Café Tío Simón was recently introduced to the Venezuelan market and many Venezuelans will
   ask themselves, what does Simón Díaz have to do with coffee?

   In the case of this coffee produced by the Cafeteros 1730 group, with beans from Santa Cruz de
   Mora, in Mérida, the link begins from the moment the idea was born.

   During the pandemic, Castor González, founding partner of Cafeteros 1730, thought it was
   necessary to reinforce the Venezuelan spirit and, from his trench, he decided to create a coffee
   to this goal. And he thought of one of the most beloved figures in Venezuelan music: Simón
   Díaz, better known to entire generations of Venezuelans as Tío Simón [Uncle Simón].
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   And that's how he stated it to Simón Jr. and Bettsimar Díaz in his first letter: The goal was to
   recall all the positive values of the people that Simón Díaz represents. Because he continues to
   represent them, as his name is iconic among Venezuelans.

   The proposal prospered after many questions from the Díaz family and many answers from
   Cafeteros 1730. They decided to join forces in this product that, for the first time, presented Tío
   Simón as a trademark. In addition, he was a great coffee drinker.

   "Cafeteros 1730 knocked on my door, but for me, it was like they were knocking on my heart.
   For us it was something different because my father had always been a brand of emotions, not
   a commercial one, that is, not the image of a commercial product. We wondered if the coffee
   was going to taste like what we were used to from Tío Simón. And so it was. We are very happy
   to be able to share it very soon with the whole country," said Bettsimar during the launch event
   of Café Tío Simón, where she was accompanied by Castor González.

   In addition, Simón Gabriel, Simón Díaz's grandson, also works at Cafeteros 1730.

   Simón and his coffee at dawn

   At the launch event, to a question from Bienmesabe about how Tío Simón drank his coffee,
   Bettsimar was visibly moved. This is because the memory of her father is intimately linked to
   coffee.

   "My dad got up every day at 4:35 in the morning and the first thing he did was go down to the
   kitchen and make his coffee. In a small ramshackle pot, because it was the same one he had
   used for years, he used to boil water with sugar. And then he'd strain it through a bag. He drank
   the first straining, guayoyo1, always guayoyo. Then he would brew more to share with all of
   us," she said.

   Strict on-site control

   Café Tío Simón is supervised by Gustavo Paparoni, one of Venezuela's best-known coffee
   masters and brand developers, who is also internationally certified.

   As Paparoni explained at the launch event, grains of various varieties2 are processed, such as
   Caturra and Criollo de Mérida. For now, they only come from Santa Cruz de Mora, but soon
   they will also include [beans] from the states of Lara and Portuguesa, among others.




   1
    Note from translator: Guayoyo is a local term to refer to black coﬀee.
   2
    Note from translator: There seems to be a typo. In Spanish, “especias” is “spices”, but what they are referring to
   here is varie�es of coﬀee beans.
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   "More than 15 different processes are evaluated, ranging from the quality of the unripe coffee
   to the finished product, the roasted bean, the grinding, and the sensory analysis through
   sampling and tasting," he said.

   A launch full of friends

   The launch event was held at the Creole restaurant Vistarroyo, and was attended by numerous
   music and entertainment celebrities, such as María Teresa Chacín and Gilberto Correa, and the
   "nephews" from the television show Contesa con Tío Simón: "Coquito", "Chusmita" and
   "Teresita". The latter sang on stage.

   "Chusmita was Tío Simón's first nephew, not in age but because he was the first one who told
   him on television 'thank you uncle,'" Bettsimar recalled.

   The event featured a concert by the group Cayiao and Cheo Hurtado, Simón's personal
   friend.

   Coordinates of Café Tío Simón

   Instagram. @cafetiosimon

   Web. www.cafetiosimon.com

   Where to buy it. This year, Café Tío Simón will be available in supermarkets and large chains in
   Greater Caracas, and in the first quarter of 2024 it will be shipped throughout the country.

   Presentations. It comes in 100, 200, and 500 gram packages of ground coffee.




                              Giuliana Chiappe

      •   Twitter
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